









02-11-035-CV














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&nbsp;

&nbsp;

COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-11-00035-CV

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&nbsp;


 
  
  In re Jerome Wall
  
  
  &nbsp;
  
  
  RELATOR
  
 


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ORIGINAL PROCEEDING

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MEMORANDUM OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relator’s petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp;
Accordingly, relator’s petition for writ of mandamus is denied.

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PER CURIAM

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PANEL:&nbsp;
GARDNER, J.; LIVINGSTON, C.J.; and WALKER, J.

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DELIVERED:&nbsp;
March 3, 2011











&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4, 52.8(d).







